              Case 17-17189-LMI       Doc 154     Filed 06/21/21     Page 1 of 1




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

In re: DAYSI DIAZ,                                         Case No.: 17-17189-LMI
                                                           Chapter: 13


                      Debtor(s)


       NOTICE OF UNAVAILABILTY OF DENISE M. BLACKWELL-PINEDA,
         COUNSEL FOR SECURED CREDITOR, AVAIL HOLDING LLC

       Please take notice that the undersigned attorney for Creditor, AVAIL HOLDING LLC,
will be unavailable the following days: (a) July 27, 2021 through August 2, 2021 and (b)
August 9, 2021 through August 13, 2021.

        In connection therewith, the undersigned counsel requests that no motions, hearings,
341 Meetings, trials, conferences, etc. be set during these timeframes and moves for a
continuance if any are so set. The undersigned also requests that no depositions be set during
these timeframes and moves for a protective order if any are set.


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via
electronic   transmission     to    Matt      Bayard,    Esquire,     attorney     for   Debtor,
Mbayard@legalservicesmiami.org and crodriguez@legalservicesmiami.org Nancy Herkert,
Chapter 13 Standing Trustee, at e2c8f01@ch13miami.com, ecf2@ch13miami.com and to the
parties who are currently on the list to receive e-mail notice/service for this case on June 21,
2021.


                                            RITTER, ZARETSKY, LIEBER & JAIME, LLP

                                            Attorneys for Movant Lucia Guevara
                                            2800 Biscayne Boulevard, Suite 500
                                            Miami, Florida 33137
                                            Telephone: (305) 372-0933
                                            Email: Denise@rzllaw.com

                                            By: /s/ Denise M. Blackwell-Pineda
                                            Denise M. Blackwell-Pineda, Esq.
                                            Florida Bar No. 751421
